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 4                                                                     The Honorable Robert Lasnik

 5                              UNITED STATES DISTRICT COURT
                               WESTERN DISTRICT OF WASHINGTON
 6                                       AT SEATTLE
 7
     UNITED STATES OF AMERICA,        )
 8                                    )
                       Plaintiff,     )                   NO. CR16-186RSL
 9                                    )
                       v.             )                   ORDER CONTINUING
10                                    )                   TRIAL DATE AND
11   FRANKIE MANUEL MIRANDA,          )                   TIME FOR PRETRIAL
                                      )                   MOTIONS
12                     Defendant.     )
     ________________________________ )
13

14          THIS MATTER having come before the Court on the unopposed motion filed by
15
     defendant Frankie Miranda (Dkt. # 35) for an order continuing the trial date and motions
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     deadlines in the above-captioned matter, and the Court having considered the motion and the
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     speedy trial waivers filed by defendant and his co-defendant, Dion Vincent Hooks (Dkt.
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19   ## 36, 38), the Court now finds and rules as follows:

20          On June 22, 2016, a four-count indictment was returned against defendant Frankie

21   Miranda.
22
            Under the Speedy Trial Act, the trial of a defendant shall commence within 70 days
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     from the date that an indictment is made public, or from the date the defendant has appeared
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     before a judicial officer of the court in which such charge is pending, whichever date last
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     ORDER CONTINUING TRIAL DATE
     AND TIME FOR PRETIAL MOTIONS - 1
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 1   occurs. 18 U.S.C. § 3161(c)(1). Certain periods of delay are excludable from the Speedy
 2   Trial calculation. See 18 U.S.C. § 3161(h). In particular, any period of delay resulting from a
 3
     continuance is excludable if the Court makes a finding that the ends of justice served by the
 4
     continuance outweigh the best interest of the public and the defendant in a speedy trial. 18
 5
     U.S.C. § 3161(h)(7)(A).       The factors, among others, which a judge shall consider in
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 7   determining whether to grant a continuance pursuant to 18 U.S.C. § 3161(h)(7)(A) are set

 8   forth in § 3161(h)(7)(B)(i)-(iv).

 9        The parties are acting diligently. On October 25, 2016, the United States provided the
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     first discovery packet. The discovery includes over 2500 pages of financial records and 25
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     audio and video recordings. Additional discovery is forthcoming.
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          Defense counsel advises that he has only reviewed a small portion of the voluminous
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     discovery packet and will also require time to share those materials with his client. Defense
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15   counsel advises that he will need a meaningful period of time to review the new discovery and

16   discuss it with his client before preparing pretrial motions.
17        In light of the voluminous discovery and factual complexity of the case, the Court finds
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     that failure to grant the requested continuance would deny the defendant reasonable time
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     necessary for adequate preparation, taking into account the exercise of due diligence. 18
20
     U.S.C. § 3161(h)(7)(B)(ii). Therefore, the Court finds that the ends of justice served by the
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     granting of the requested continuance outweigh the best interest of the public and the
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23   defendant in a speedy trial. 18 U.S.C. § 3161(h)(7)(A).

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     ORDER CONTINUING TRIAL DATE
     AND TIME FOR PRETIAL MOTIONS - 2
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 1          Therefore, it is hereby ORDERED that defendant’s unopposed motion is GRANTED.
 2   It is further ORDERED that the trial in this matter shall commence on April 17, 2017 and that
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     pretrial motions are due on or before March 3, 2017.
 4
            It is further ORDERED that this period of delay from the date of this order through
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     April 17, 2017, will be excludable time under the Speedy Trial Act under Title 18, United
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 7   States Code, Section 3161(h)(7)(A).

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 9          DATED this 7th day of November, 2016.
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                                                 A
12                                               Robert S. Lasnik
                                                 United States District Judge
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     ORDER CONTINUING TRIAL DATE
     AND TIME FOR PRETIAL MOTIONS - 3
